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                                                                 September 22, 2021

BY FEDERAL EXPRESS AND ECF

Honorable James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

                   Re:       Piazza v. Oldner, et al., Adv. Pro. No. 21-01180 (JLG)
                             In re Orly Genger, Chapter 7 Case No. 19-13895 (JLG)

Dear Judge Garrity:

        We join in Mr. Bowen’s letter dated September 20, 2021. We further write to provide an
additional development. The deadline to respond to the Complaint is September 27, 2021. Mr.
Pollock and Mr. Rodriguez requested an extension of the response deadline for just a few days in
light of the upcoming Jewish holidays on Monday September 27th and September 28th. We
advised Mr. Pollock and Mr. Rodriguez that to the extent that they filed a formal appearance in
the adversary proceeding, we would provide them the courtesy of an extension through October
1, 2021. A formal appearance was thereafter filed by Mr. Pollock’s firm on September 21,
2021on behalf of the Orly Genger 1993 Trust, Recovery Effort Inc. and Manhattan Safety Maine
Inc. The same courtesy of an extension through October 1, 2021 shall apply to any other
defendant that files a general notice of appearance in the adversary proceeding.

       While Mr. Rodriguez is still not willing to withdraw his request for a conference, for the
reasons set forth in prior correspondence and this letter, the Trustee respectfully submits there is
no basis for a pre-answer conference in this adversary proceeding.

                                                                 Respectfully submitted,

                                                                 /s/Rocco A. Cavaliere

                                                                 Rocco A. Cavaliere


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